               Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 1 of 12
                                        OR\G\~lAL
UN+TED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
  -   -    -    -   -   -   -   -   -   -   -      -      -   -    X


  pNITED STATES OF AMERICA

                        - v. -                                         SEALED INDICTMENT

  BRUCE BAGLEY,                                                        19 Cr.

                                Defendant.

                                                                                           ' '
                                                                  _x

                                           COUNT ONE
                            (Conspiracy to Commit Money Laundering)

                    The Grand Jury charges:

                                            Overview of the Scheme

          1.        From in or about November 2017, up until in or about

April 2019, BRUCE BAGLEY, the defendant, and others,

participated in a conspiracy to launder proceeds of a Venezuelan

bribery and corruption scheme into the United States. As part of

this conspiracy, BAGLEY agreed to and did receive approximately

fourteen deposits from bank accounts in Switzerland and the

United Arab Emirates, totaling $i~illion, which funds BAGLEY

and others believed to be derived from graft and corruption in

connection with public works projects in Venezuela. After

receiving these funds into bank accounts BAGLEY controlled,

BAGLEY transferred the maJority of the funds into the bank
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          Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 2 of 12



accounts of a co-conspirator to conceal the nature, source, and

ownership of the funds.

     2.      In or about 2005, BRUCE BAGLEY, the defendant,

incorporated a company ("Company-1") in Florida and listed

himself and his spouse as the officers and directors. Company-1

had little activity between 2005 and 2016. The Florida

Department of State administratively dissolved Company-1 in 2017

due to failure to file an annual report.

     3.      In or about November 2016, BRUCE BAGLEY, the

defendant, opened a bank account on behalf of Company-1             (the

"Company-1 Account") at a bank in Weston, Florida ("Bank-1").

BAGLEY listed himself as the President of Company-1 in the

account opening documents.

     4.      The Company-1 Account had minimal activity until in or

about November 2017. At that time, the Company-1 Account began

receiving monthly deposits of approximately $200,000 from an

account in the United Arab Emirates held in the name of a
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purported food company (the "Food Company").

     5.      Upon receiving each deposit into the Company-1

Account, BRUCE BAGLEY, the defendant, would follow a set

pattern. BAGLEY and another individual ("Individual-1") would

visit Bank-1 together. At Bank-1, BAGLEY would withdraw

approximately ninety percent of the deposited funds in the form

of a cashier's check payable to a company controlled by

                                       2
          Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 3 of 12



Individual-1 ("Company-2"). BAGLEY would then wire the remaining

fuhds to a personal account held in BAGLEY's name.

     6.      Between in or about November 2017 and in or about

February 2018, BRUCE BAGLEY, the defendant, through the Company-

1 ~ccount, received approximately four deposits from the Food

Company totaling approximately $800,000. BAGLEY withdrew

approximately $720,000 in cashier's checks payable to Company-2,

and wired approximately $80,000 to his personal account.

     7.      Beginning in or about March 2018, the Company-1

Account began receiving monthly deposits from a Swiss bank

account held in the name of a wealth management firm located in

ttle United Arab Emirates (the "Wealth Management Firm"). Between

in or about March 2018 and in or about August 2018, the Company-

1 Account received approximately eight deposits from the Wealth

Management Firm, totaling approximately $1.7 million dollars. In

tQtal, BRUCE BAGLEY, the defendant, withdrew approximately $1.1

million in cashier's checks from the Company-1 Account, payable

to Company-2, and wired approximately $92,000 to his personal

account.

     8.      In or about October 2018, Bank-1 closed the Company-1

Account due to suspicious activity.

     9.      The accounts associated with the Food Company and the

Wealth Management Firm belong to and are controlled by a

Colombian individual ("Individual-2"). During the period of the

                                       3
       Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 4 of 12



conspiracy, BRUCE BAGLEY, the defendant, and Individual-1

discussed the fact that they were moving funds on behalf of

Individual-2 and that the funds represented the proceeds of

foreign bribery and embezzlement stolen from the Venezuelan

people. Nevertheless, BAGLEY continued to receive and transfer

money on behalf of Individual-2, for which BAGLEY received over

$100,000. Additionally, in order to conceal the nature, source,

a~d control of the funds, BAGLEY entered into multiple sham

cdntracts purporting to justify the transfer of money into his

account in the course of the money-laundering conspiracy.

     10.   In or about December 2018, BRUCE BAGLEY, the

defendant, provided electronic wire transfer information for a

new bank account to Individual-1 and Individual-2 to facilitate

the transfer of Individual-2's funds into the United States.

This account was held in BAGLEY's name at a bank located in

Florida (the "Bagley Account"). On or about January 9, 2019, the

Bagley Account received approximately $250,000, which funds

Individual-1 had previously represented to BAGLEY to have

derived from bribery and public corruption in Venezuela. Upon

receiving this wire deposit, BAGLEY, accompanied by Individual-

1, withdrew a cashier's check in the amount of approximately

$230,000 payable to Company-2; BAGLEY retained the balance of

these funds as a commission for his services.




                                    4
        Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 5 of 12



      11.   On or about February 20, 2019, approximately $224,000

was sent to the Bagley Account, which funds were represented by

law enforcement to BAGLEY to have derived from bribery and

public corruption in Venezuela. Upon receiving the wire deposit,

BAGLEY withdrew a cashier's check in the amount of approximately

$180,000 payable to Company-2 and retained the rest.

      12.   The funds involved in several of the wire transactions

on behalf of Individual-2 and Company-2, including the January

2019 transaction and the February 2019 transaction, passed

through the Southern District of New York, before being

deposited into the Company-1 Account or the Bagley Account.

                           Statutory Allegations

      13.   From at    least   in     or   about     November    2017,   up     to   and

including in or about April 2019, in the Southern District of New

Y0rk and elsewhere, BRUCE BAGLEY, the defendant, and others known

and   unknown,    willfully    and     knowingly        did   combine,    conspire,

confederate, and agree together and with each other to engage in
 l

money laundering offenses, in violation of Title 18, United States

Cc;:,de, Sections 1956 (a) (1) (B) (i),        (a) (2) (B) (i), and 1957 (a).

      14.   It was a part and an object of the conspiracy that BRUCE

BAGLEY, the defendant, and others known and unknown, knowing that

the   property      involved     in        certain      financial     transactions

represented the proceeds of some form of unlawful activity, would

and did conduct and attempt to conduct such financial transactions,

                                           5
           Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 6 of 12



wh~ch in fact involved the proceeds of specified unlawful activity,

to wit:        (i) transportation of stolen goods, securities, and moneys

in interstate commerce,               in violation of Title 18, United States

Code,     Section 2314;        and     (ii)    offenses against a            foreign nation

involving bribery of a public official, and the misappropriation,

theft, and embezzlement of public funds by and for the benefit of

a public official,           as provided by Title 18, United States Code,

Section        1956 (c) (7) (B) (iv),         knowing    that    the     transaction      was

designed in whole or in part to conceal and disguise the nature,

the location,           the source,     the ownership,          and the control of the

proceeds
  I
         of specified unlawful activity, in violation of Title 18,

United States Code, Section 1956(a) (1) (B) (i).

         15.       It was a further part and an object of the conspiracy

that BRUCE BAGLEY,           the defendant,           and others known and unknown,
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transported,            transmitted,     and        transferred,       and    attempted    to

transport, transmit, and transfer, a monetary instrument and funds
     I
ffom a place in the United States to and through a place outside

the United States, and to a place in the United States from and

tbrough        a    place   outside     the     United    States,      knowing     that   the

monetary instrument and funds                   represented the proceeds of some

f9rm of unlawful activity,               and knowing that the transaction was

designed in whole or in part to conceal and dis~uise the nature,
 '
the location,           the source,     the ownership,          and the control of the

proceeds           of    specified       unlawful        activity,           to   wit:    ( i)


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        Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 7 of 12



transportation          of   stolen         goods,     securities,        and    moneys   in

interstate commerce, in violation of Title 18, United States Code,

Section 2314; and (ii) offenses against a foreign nation involving

br1bery of a public official, and the misappropriation, theft, and

embezzlement of public funds by and for the benefit of a public

official,    as provided by Title 18,                  United States Code,          Section

1956 (c) (7) (B) (iv), in violation of Title 18, United States Code,

Section 1956(a) (2) (B) (i).

      16.    It was a further part and an object of the conspiracy

that BRUCE BAGLEY,           the defendant,           and others known and unknown,

within the United States,               in an offense involving and affecting

interstate and foreign commerce,                     knowingly would and did engage

and   attempt      to   engage    in        monetary    transactions       in    criminally

derived property of a value greater than $10,000 that was derived

from specified unlawful activity,                    to wit,     ( i)   transportation of

stolen goods,       securities,         and moneys in interstate commerce,                in
 '

violation of Title 18, United States Code, Section 2314; and (ii)

offenses against a foreign nation involving bribery of a public
 '
official,    and the misappropriation,                  theft,     and embezzlement of

p1;1blic funds     by and       for    the benefit of a            public official,       as

provided      by        Title         18,      United      States        Code,      Section

1956 (c) (7) (B) (iv), in violation of Title 18, United States Code,

Section 1957(a).

            (Title 18, United States Code, Section 1956(h) .)

                                                7
          Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 8 of 12



                                  COUNT TWO
                              (Money Laundering)

                The Grand Jury further charges:

         17.    The allegations contained in paragraphs 1 through 12
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o~ this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

         18.    In or about January 2019, in the Southern District of

New York and elsewhere, BRUCE BAGLEY, the defendant, with the

intent to conceal and disguise the nature, location, source,

ownership, and control of property believed to be the proceeds

of specified unlawful activity, knowingly did conduct and
 I



attempt to conduct a financial transaction involving property

represented to be the proceeds of specified unlawful activity,

to wit: (i) transportation of stolen goods, securities, and

moneys in interstate commerce, Title 18, United States Code,

Section 2314; and (ii) offenses against a foreign nation

involving bribery of a public official, and the

misappropriation, theft, and embezzlement of public funds by and

for the benefit of a public official, as provided by Title 18,

United States Code, Section 1956(c) (7) (B) (iv).

               (Title 18, United States Code, Sections 1956(a) (3) (B)
                                      and 2.)




                                       8
       Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 9 of 12



                              COUNT THREE
                           (Money Laundering)

            The Grand Jury further charges:

     19.    The allegations contained in paragraphs 1 through 12

of this Indictment are hereby repeated, realleged, and

incorporated by reference, as if fully set forth herein.

     20.    In or about February 2019, in the Southern District of

New York and elsewhere, BRUCE BAGLEY, the defendant, with the

i~tent to conceal and disguise the nature, location, source,

ownership, and control of property believed to be the proceeds

of specified unlawful activity, knowingly did conduct and

attempt to conduct a financial transaction involving property

represented to be the proceeds of specified unlawful activity,

to wit: (i) transportation of stolen goods, securities, and

moneys in interstate commerce, Title 18, United States Code,

Section 2314; and (ii) offenses against a foreign nation

involving bribery of a public official, and the

misappropriation, theft, and embezzlement of public funds by and

for the benefit of a public official, as provided by Title 18,

United States Code, Section 1956(c) (7) (B) (iv).

           (Title 18, United States Code, Sections 1956(a) (3) (B)
                                  and 2.)




                                    9
         Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 10 of 12



                            FORFEITURE ALLEGATION

     21.     As a result of committing one or more of the offenses

alleged in Counts One, Two, and Three of this Indictment, BRUCE

BAGLEY, the defendant, shall forfeit to the United States,

pursuant to Title 18, United States Code, Section 982(a) (1), any

a~d all property, real and personal, involved in said offenses,

or any property traceable to such property, including but not

limited to a sum of money in United States currency representing

tne amount of property involved in said offenses.

                         Substitute Asset Provision

     22.     If any of the above described forfeitable property, as

a result of any act or omission of the defendant:

             a.    Cannot    be     located    upon     the     exercise    of      due

diligence;

             b.    Has been transferred or sold to, or deposited with,

a third person;

             c.    Has   been     placed beyond       the    jurisdiction      of   the

cburt;

             d.    Has been substantially diminished in value; or

             e.    Has   been     commingled    with        other   property     which

cannot be subdivided without difficulty;

it is the intent of the United States, pursuant to Title 21, United

States Code,      Section    853 (p)   and Title 28,          United States Code,



                                        10
      Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 11 of 12



Section 2461(c), to seek forfeiture of any other property of the

defendant up to the value of the above forfeitable property.

            (Title 18, United States Code, Section 982;
           Title 21, United States Code, Section 853.)




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                                         United States Attorney
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                                    11
Case 1:19-cr-00765-JSR Document 2 Filed 10/24/19 Page 12 of 12




               UNITED STATES DISTRICT COURT
               SOUTHERN DISTRICT OF NEW YORK


                      UNITED STATES OF AMERICA

                                - v. -

                            BRUCE BAGLEY,

                                                      Defendant.


                              INDICTMENT

                                19 Cr.

                      (18   u.s.c.   §§ 1956 & 2)


                         GEOFFREY S. BERMAN
                                     Attorney.




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